
Duer, J.
With all possible respect for the judge who made the decision that has been cited, it is impossible for me to follow it. I cannot say that a day, appointed for a hearing before a referee, is a circuit or term, general or special, or that his private docket, if he keeps any, is a calendar. In order to meet a supposed equity, I cannot stretch a statutory provision to a case which its terms cannot, without violence, be made to embrace. If there is a casus omissus-, the Legislature must supply it.
Even were the terms of the Code so ambiguous, that by a possible construction they might cover the rejected charge, I still should bé very unwilling to allow it. Proceedings before referees, as usually conducted, are sufficiently protracted and expensive, and it is not at all desirable to increase the temptations to delay. I must affirm the decision of the clerk.
Oaklet, Ch. J., and Bosworth, J., concurred.
